 

Case 1:08-cr-20112-JEM Document 3 Entered on FLSD Docket 02/12/2008 Page 1 of 21

UNITED STATES DISTRICT COURT

 

 

 
  
    

 

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d. U.S.C. § 841(a)(1)
21 U.S.C. § 853
UNITED STATES OF AMERICA
vs. MAG. ScON
ALI SHAYGAN,
Defendant. GLERK US, BIST. ore
/ S.D. OF FLA. + MIAMI!
INDICTMENT
The Grand Jury charges that:
COUNT 1

On or about June 7, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a
detectable amount of methadone.

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), itis further alleged that the death

of J.D. resulted from the use of this substance.
 

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COUNT 2

On or about June 7, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a
detectable amount of diazepam.

COUNT 3

On or about June 7, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of roxicodone.
 

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COUNT 4

On or about September 26, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a
detectable amount of roxicodone.

COUNT 5

On or about September 26, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), itis further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a

detectable amount of alprazolam.
 

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COUNT 6

On or about September 26, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841 (a)(1).

Pursuant to Title 21, United States Code, Section 841 (b)(1)(D)(1), it is further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a
detectable amount of hydrocodone.

COUNT 7

On or about October 22, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of roxicodone.
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COUNT 8

On or about October 22, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a
detectable amount of xanax.

COUNT 9

On or about October 22, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(1), it is further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a

detectable amount of hydrocodone.
 

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COUNT 10

On or about October 26, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a
detectable amount of methadone.

COUNT 11

On or about October 26, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of roxicodone.
 

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COUNT 12

On or about October 26, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(1), it is further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a
detectable amount of hydrocodone.

COUNT 13

On or about October 26, 2007, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a

detectable amount of alprazolam.
 

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COUNT 14

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a
detectable amount of roxicodone.

COUNT 15

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a

detectable amount of xanax.
 

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COUNT 16

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(1), it is further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a
detectable amount of hydrocodone.

COUNT 17

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of methadone.
 

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COUNT 18

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(1), it is further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a
detectable amount of hydrocodone.

COUNT 19

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of roxicodone.

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COUNT 20

On or about November 16, 2007, in Miami-Dade County, in the Southern District of Florida,

the defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a
detectable amount of alprazolam.

COUNT 21

On or about January 15, 2008, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this
violation involved a schedule II controlled substance, that is, mixture and substance containing a

detectable amount of roxicodone.

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COUNT 22

On or about January 15, 2008, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
a registrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(), itis further alleged that this
violation involved a schedule III controlled substance, that is, mixture and substance containing a
detectable amount of hydrocodone.

COUNT 23

On or about January 15, 2008, in Miami-Dade County, in the Southern District of Florida, the

defendant,

ALI SHAYGAN,
aregistrant authorized to dispense controlled substances, did knowingly and intentionally distribute and
dispense a controlled substance, outside the scope of professional practice and not for a legitimate
medical purpose, in violation of Title 21, United States Code, Section 841(a)(1).

Pursuant to Title 21, United States Code, Section 841(b)(1)(D)(2), it is further alleged that this
violation involved a schedule IV controlled substance, that is, mixture and substance containing a

detectable amount of xanax.

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FORFEITURE ALLEGATION

1. The allegations of Counts 1 through 23 of this Indictment are re-alleged and by this
reference fully incorporated herein for the purpose of alleging forfeiture to the United States of America
of property in which the defendant has an interest.

2. Upon conviction of any violation of Title 21, United States Code, Section 841, as alleged
in Counts 1 through 23, the defendant shall forfeit to the United States, pursuant to Title 21, United
States Code, Sections 853(a)(1) and (2), any property constituting or derived from any proceeds
obtained, directly or indirectly, as the result of such violation, and any property which the defendant

used or intended to be used in any manner or part to commit or to facilitate the commission of such

violation.
3. The property subject to forfeiture includes, but is not limited to:
(a) the real property located at 2829 Indian Creek Drive, #1409, Miami Beach,
Florida 33140;
(b) all funds in HSBC Bank Account Number 152-74957-8 in the name of Ali
Shaygan,
(c) all funds in HSBC Bank Account Number 152-63094-5 in the name of Ahi
Shaygan;
(d) all funds in HSBC Bank Account Number 152-63095-3 in the name of Ali
Shaygan; and
(e) all funds in HSBC Bank Account Number 152-74937-3 in the name of Pioneer
Medical Therapeutics Inc.
4. If the property described above as being subject to forfeiture, as a result of any act or

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omission of the defendant,

(a)
(b)
(c)
(d)
(e)

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with a third party,

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek

forfeiture of any other property of the defendant up to the value of the above forfeitable property and,

in addition, to require the defendant to return any such property to the jurisdiction of the court for the

seizure and forfeiture.

All pursuant to Title 21, United States Code, Section 853.

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R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

  

SEAN PAUL CRONIN
ASSISTANT UNITED STATES ATTORNEY

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UNITED STATES OF AMERICA CASE NO.

vs.
CERTIFICATE OF TRIAL ATTORNEY*

ALI SHAYGAN,

Defendant.

Superseding Case Information:

Court Division: (Select One) New Defendant(s) Yes No
Number of New Defendants —_———_-

XX Miami —— Key West Total number of counts —_——

—— ‘FIL —— WPB —— “FIP

| do hereby certify that:

1.

| have carefully considered the allegations of the indictment, the number of defendants, the number of
probable witnesses and the legal complexities of the Indictment/Information attached hereto.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) No
List language and/or dialec

4. This case will take 10 days for the parties to try.

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)

| 0 to 5 days Petty ——__

i 6 to 10 days x Minor —_——-

ill 11 to 20 days Misdem. —_———_

IV 21 to 60 days Felony xX

V 61 days and over

6 Has this case been previously filed in this District Court? (Yes or No) No

yes:

Judge: Case No.

(Attach copy of dispositive order)

Was a complaint been filed in this matter? (Yes or No) No

yes:

Magistrate Case No.

Related Miscellaneous numbers:

Defendant 5} in federal custody as of

Defendant(s) in state custody as of

Rule 20 from the District of

ls this a potential death penalty case? (Yes or No) No

7. Does this case originate from a matter pending in the U.S. Attorney's Office prior to
April 1, 2003? Yes —xX No

8. Does this case originate from a matter pending in the U. S. Attorney's Office prior to
April 1, 1999? Yes No
If yes, was it pending in the Central Région? Yes No

9, Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
to October 14, 2003? Yes x No

10.

11.

Does this case originate from a matter pending in the Narcotics Section (Miami) prior to
May 18, 2003? Yes x No

 

 

Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
to September 1, 2007? Yes x oO

 

 

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SEAN P. CKONIN
ASSISTAMT UNITED STATES ATTORNEY
Court Nf. A5500940

*Penalty Sheet(s) attached REV.9/11/07
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Page | of 6

Defendant's Name: ALI SHAYGAN Case No:

 

Count #: 1

Distribution and dispensing of methadone.

Title 21, United States Code, Section 841(a)(1)
* Max.Penalty: Life imprisonment
Count #: 2

Distribution and dispensing of diazepam.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 3 years’ imprisonment
Count #: 3

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)C1)
*Max. Penalty: 20 years' imprisonment
Count #: 4

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 20 years' imprisonment
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Page 2 of 6

 

Defendant's Name: ALLSHAYGAN Case No:

 

Count #: 5

Distribution and dispensing of alprazolam.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 3 years’ imprisonment
Count #: 6

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 5 years' imprisonment
Count #: 7

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)Q)
*Max. Penalty: 20 years' imprisonment
Count #: 8

Distribution and dispensing of xanax.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 3 years' imprisonment
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Page 3 of 6

Defendant's Name: ALI SHAYGAN Case No:

 

Case No:

 

Count #:9

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 5 years’ imprisonment
Count #: 10

Distribution and dispensing of methadone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 20 years' imprisonment
Count #: 11

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 20 years’ imprisonment
Count #: 12

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 5 years’ imprisonment

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Pag 4 of 6

Defendant's Name: ALI SHAYGAN Case No:

 

Count #: 13

Distribution and dispensing of alprazolam.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 3 years' imprisonment
Count #: 14

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 20 years’ imprisonment
Count #: 15

Distribution and dispensing of xanax.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 3 years' imprisonment
Count #: 16

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 5 years' imprisonment
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Page 5 of 6

Defendant's Name: ALI SHAYGAN Case No:

 

Count #: 17

Distribution and dispensing of methadone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 20 years' imprisonment
Count #: 18

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 5 years' imprisonment
Count #: 19

Distribution and dispensing of roxicodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 20 years' imprisonment
Count #: 20

Distribution and dispensing of alprazolam.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 3 years' imprisonment
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET Page 6 of 6

Defendant's Name: ALI SHAYGAN Case No:

 

Count #: 21

Distribution and dispensing of roxicodone.

Title 21, United States Code. Section 841(a)(1)
*Max. Penalty: 20 years’ imprisonment
Count #: 22

Distribution and dispensing of hydrocodone.

Title 21, United States Code, Section 841(a)(1)
*Max. Penalty: 5 years' imprisonment
Count #: 23

Distribution and dispensing of xanax.

Title 21, United States Code, Section 841(a)(1)

*Max. Penalty: 3 years’ imprisonment

 

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

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